                     THE THIRTEENTH COURT OF APPEALS

                                    13-14-00275-CV


                                  Paul M. Vazaldua Jr.
                                           v.
                                   Jaime Jerry Muñoz


                                    On Appeal from the
                      370th District Court of Hidalgo County, Texas
                             Trial Cause No. C-2192-14-G


                                      JUDGMENT

      THE THIRTEENTH COURT OF APPEALS, having considered this cause on

appeal, concludes that the judgment of the trial court should be affirmed. The Court

orders the judgment of the trial court AFFIRMED. Costs of the appeal are adjudged

against appellant.

      We further order this decision certified below for observance.

June 20, 2014.
